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15
16                            UNITED STATES DISTRICT COURT

17                         NORTHERN DISTRICT OF CALIFORNIA

18    LD, DB, BW, RH, and CJ on behalf of              Case No. 4:20-cv-02254-YGR-JCS
      themselves and all others similarly              (Hon. Yvonne Gonzalez Rogers)
19    situated,
                                                        [PROPOSED] ORDER GRANTING
20    Plaintiffs,                                       DEFENDANT MULTIPLAN, INC.’S
                                                         ADMINISTRATIVE MOTION TO
21    vs.                                              FILE MATERIALS DESIGNATED AS
                                                          CONFIDENTIAL UNDER SEAL
22    UNITED BEHAVIORAL HEALTH,
      INC., a California Corporation,
23    UNITEDHEALTHCARE INSURANCE
      COMPANY, a Connecticut Corporation,
24    and MULTIPLAN, INC., a New York
      Corporation,
25
      Defendants.
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                                                 -1-             Case No. 4:20-cv-02254-YGR-JCS
                           [PROPOSED] ORDER GRANTING MULTIPLAN’S ADMINISTRATIVE MOTION TO
                                                                                          SEAL
     PD.43573047.1
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 1                                     [PROPOSED] ORDER
 2           Pursuant to Civil Local Rule 79-5, Defendant MultiPlan, Inc. (“MultiPlan”) has filed
 3 an Administrative Motion to File Under Seal and the Declaration of Errol J. King, Jr. in
 4 support thereof. Having considered the Administrative Motion to File Under Seal, all
 5 materials submitted in support thereof and any arguments of counsel, the Court finds good
 6 cause to file the Amendment to Rebuttal Expert Report of Jessica Schmor and the October
 7 10, 2023 Deposition transcript of Jessica Schmor, attached as Exhibits A and B to the
 8 Declaration of Errol J. King, Jr., under seal.
 9           Accordingly, IT IS HEREBY ORDERED that MultiPlan’s Administrative Motion
10 to File Under Seal is GRANTED.
11           IT IS SO ORDERED.
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13 Dated: November 3, 2023                                _________________________________
                                                          Judge Joseph C. Spero
14                                                        United States Magistrate Judge
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                                                    -2-          Case No. 4:20-cv-02254-YGR-JCS
                           [PROPOSED] ORDER GRANTING MULTIPLAN’S ADMINISTRATIVE MOTION TO
                                                                                          SEAL
     PD.43573047.1
